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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA

      Plaintiff

           v.                                CRIMINAL NO. 06-0060(JAG)


RAFAEL RIVERA-VAZQUEZ(20),

      Defendant(s)



                                  ORDER

     The deadline for filing objections to the Magistrate-Judge’s

Report and Recommendation has elapsed.         Upon review of the record,

the Court adopts the Report and Recommendation.


     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 22nd day of March, 2006.


                                          S/Jay A. Garcia-Gregory
                                          JAY A. GARCIA-GREGORY
                                          United States District Judge
